Case 5:09-cv-00086-RWS Document 100 Filed 04/24/19 Page 1 of 1 PageID #: 2181




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                TEXARKANA DIVISION

 MOISES SANDOVAL MENDOZA,                        §
                                                 §
                                                 §
                  Petitioner,                    §
                                                 §
 v.                                              §   CIVIL ACTION NO. 5:09-CV-86
                                                 §
 DIRECTOR, TDCJ-CID,                             §
                                                 §
      .           Respondent.                    §




                                           ORDER

          On April 23, 2019, the Court entered a Memorandum Opinion and Order of Dismissal

(“Order”) (Docket No. 98) and a Final Judgment (Docket No. 99) in this matter. The Court hereby

WITHDRAWS its Order (Docket No. 98) and Final Judgment (Docket No. 99).

          It is so ORDERED.

          SIGNED this 24th day of April, 2019.



                                                       ____________________________________
                                                       ROBERT W. SCHROEDER III
                                                       UNITED STATES DISTRICT JUDGE
